Case 20-41558   Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03   Desc
                         Addendum Page 1 of 64



                                Exhibit 4

                        Addendum to Proof of Claim
Case 20-41558          Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                             Desc
                                Addendum Page 2 of 64



                 IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF TEXAS (SHERMAN)

__________________________________________
In re:                                     )
                                           )                            Chapter 11
AMAZING ENERGY MS, LLC                     )
                                           )                            Case. No. 20-41558
                                           )
                  Debtor.                  )
__________________________________________)
In re:                                     )
                                           )                            Chapter 11
AMAZING ENERGY LLC                         )
                                           )                            Case. No. 20-41561
                                           )
                  Debtor.                  )
__________________________________________)
In re:                                     )
                                           )                            Chapter 11
AMAZING ENERGY HOLDINGS, LLC               )
                                           )                            Case. No. 20-41563
                                           )
                  Debtor.                  )                            *Jointly Administered Under
__________________________________________)                             Case No. 20-41558



     ADDENDUM TO PROOF OF CLAIM OF THOMPSON & KNIGHT LLP

      1.     This proof of claim (the “Proof of Claim”) is submitted by and on behalf
of Thompson & Knight, LLP (“TK”), a creditor of Amazing Energy, LLC (the “Debtor”).

      2.     The Debtor filed for relief under chapter 11 of title 11 of the United States
Code on October 19, 2018 (the “Petition Date”).

        3.     Prior to the Petition Date, TK performed legal work on behalf of the Debtor
(the “Prepetition Services”) in relation to state court litigation, filed in Pecos County,
Texas (the “State Court Case”), which matter has since been removed and transferred to
this Court, where it is pending as Adversary Proceeding No. 20-04075. TK has outstanding
and unpaid fees and expenses (the “Litigation Expenses”) incurred in connection with the
Prepetition Services.



___________________________________________________________________________________________________________
ADDENDUM TO PROOF OF CLAIM OF THOMPSON & KNIGHT                                                        Page 1
Case 20-41558          Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                             Desc
                                Addendum Page 3 of 64



        4.      As reflected in the invoices attached hereto as Exhibit A (the “Invoices”),
the Debtor is indebted to TK in an amount not less than $133,558.91 for the Litigation
Expenses incurred in connection with the Prepetition Services. 1 The Invoices reflect that
the Prepetition Services were performed by experienced, competent TK attorneys at the
direction of the Debtor. Further, as reflected in the engagement letter, attached hereto as
Exhibit B, the Litigation Expenses reflected in the Invoices are in accordance with the
parties’ agreement and were reasonable and necessary for the Prepetition Services provided
by TK.

        5.      In addition and to the extent necessary, in the alternative, TK asserts that
the Debtor benefitted from the Litigation Expenses incurred in relation to TK’s Prepetition
Services, and the Debtor therefore is indebted to TK under applicable law and principles
of equity in an amount not less than $133,558.91.

         6.      The filing of this Proof of Claim is neither (a) a waiver or release of TK’s
rights, claims or defenses against any person, entity or property; (b) a waiver or release of
TK’s right to have any and all final orders in any and all non-core matters entered only
after de novo review by a United States District Court; (c) a consent by TK to the
jurisdiction of this Court for any purpose other than with respect to this Proof of Claim; (d)
an election of remedy; (e) a waiver or release of any rights which TK may have to a jury
trial; nor (f) a waiver of the right to move to withdraw the reference with respect to the
subject matter of this Proof of Claim, any objection thereto or any other proceedings which
may be commenced in this case against or otherwise involving TK, including without
limitation, any adversary proceeding that was or may be commenced by any party or
committee in this case.

         7.       All notices concerning this proof of claim should be sent to:

                  Thompson & Knight LLP
                  c/o Christopher A. Bailey
                  1722 Routh Street, Suite 1500
                  Dallas, Texas 75201

        8.      TK reserves the right to amend and/or supplement this Proof of Claim and
to assert any and all other claims of whatever kind or nature that it has, or may have, that
may come to the attention of TK or arise after the filing of this Proof of Claim. The filing
of this Proof of Claim shall not be deemed a waiver of any such claims or amounts.




1
  The invoices attached here as Exhibit A reference certain post-petition services, the fees for which have
been deducted from the Claim total.
The invoices have been redacted. If the Debtor or the Court requests un-redacted copies of the Invoices, TK
is will provide them subject to reasonable measures to protect any applicable attorney-client or work-product
privileges.


___________________________________________________________________________________________________________
ADDENDUM TO PROOF OF CLAIM OF THOMPSON & KNIGHT                                                        Page 2
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                      EXHIBIT A – INVOICES
                 Case 20-41558                   Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                                  Desc
                                                          Addendum Page 5 of 64
                                                           THOMPSON & KNIGHT                                   LLP
                                                                   ATTORNEYS AND COUNSELORS

                                                                          777 MAIN STREET SUITE 3300
                                                                           FORT WORTH . TEXAS 76 102
                                                                                 (817) 347-1700
                                                                              METRO (214 ) 969-1799
                                                                               FAX (817) 347-1799
                                                                                   tklaw.com


          TAX ID No. XX-XXXXXXX




Amazing Energy Oil and Gas Co                                                                                                                                   Page 1
Attn: Tom Thornhill                                                                                                                                  February 14, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                                    Invoice 42114086
Plano, TX 75093




                                                                  INVOICE SUMMARY
For Services Rendered Through January 31, 2020

Our Matter#            527040.000004
                       Pecos County Title Dispute


Fees for Professional Services ... ...................................................................................................... $                 6,069.00
Reimbursable Costs .......................................................................................................................... $               141.11
Net Current Billing For This Invoice ............................................................................................... $                      6,210.11
                                                                                                                                                  -----~---




                            AUSTIN   I DALLAS I FORT    WORTH     I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO              CITY   I MONTERREY
          Case 20-41558           Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                       Desc
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THOMPSON & KNIGHT LLP                                                                                                                 Page 2
                                                                                                                           February 14, 2020
                                                                                                                           Invoice 42114086

Our Matter#   527040.000004
              Pecos County Title Dispute



                                                             Open Invoices


                    Invoice Number                          Invoice Date                      Invoice Total
                 42111596                              01/07/20                                       $33,220.82
                 Total                                                                                $33,220.82




                AUSTIN   I DALLAS I FORT   WORTH   I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO   CITY   I MONTERREY
              Case 20-41558                 Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                     Desc
                                                     Addendum Page 7 of 64
                                                    THOMPSON               & KNIGHT LLP
                                                            ATTORNEYS AND COUNSELORS

                                                                 777 MAIN STREET SUITE 3300
                                                                  FORT WORTH , TEXAS 761 0 2
                                                                        (817) 347-170 0
                                                                     METRO (214 ) 96 9-179 9
                                                                      FAX (817) 347- 179 9
                                                                          tklaw .com

       TAX ID No. XX-XXXXXXX




Amazing Energy Oil and Gas Co                                                                                                                 Page 3
Attn: Tom Thornhill                                                                                                                February 14, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                  Invoice 42114086
Plano, TX 75093




    Date      Name                             Narrative                                                             Hours     Rate       Amount
01/03/2020 Davis, N                            Analyze JB Parker request for documents;                                 .40    650.00      $260.00
                                               correspondence regarding same
01/06/2020 Davis, N                            Analyze Pioneer pipeline deal documents;                                1.60    650.00     $1,040.00
                                               correspondence with Dr. Parker counsel regarding
                                               same; conference with J. Porter regarding document
                                               collection
01/07/2020 Davis, N                           Analyze documents requested by opposing counsel;                          .60    650.00      $390.00
                                              correspondence with opposing counsel regarding
                                              same
01/13/2020 Davis, N                            Correspondence regarding arbitrator; conference and                      .70    650.00      $455.00
                                               correspondence with J. King regarding
                                                                   ; conference with J. McCam

01/16/2020 Vartabedian, R                     Call with B. Barton and counsel                                           .70    760.00      $532 .00
01/16/2020 Davis, N                           Conference with opposing parties and counsel                             1.50    650.00      $975.00
                                              regarding                  conference with J.
                                              Mccarn regarding
01/16/2020 Porter, J                          Correspondence with opposing counsel concerning                          1.30    410.00      $533.00

01/17/2020 Vartabedian, R                     Correspondence with client                                                .40    760.00      $304.00
01/17/2020 Davis, N                           Conference with T. Thornhill and J. Mccarn                               1.00    650.00      $650.00
                                              regarding
01/22/2020 Vartabedian, R                     Correspondence with client                                                .20    760.00      $152.00
01/22/2020 Davis, N                           Conference with J. McCarn regarding                        ;              .30    650.00      $195.00
                                              correspondence with J. King regarding same
0 l /24/2020 Davis, N                         Conference with J. King regarding           ;                             .80    650.00      $520.00
                                              conference with J. Mccarn regarding same;
                                              conference with J. Griffis regarding status
01/31/2020 Bates, P                           Review and distribute notice from court regarding                         .20    315.00       $63.00



                        AUSTIN   I DALLAS   I FORT WORTH   I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO   CITY   I MONTERREY
                Case 20-41558                  Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                                Desc
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THOMPSON & KNIGHT LLP                                                                                                                                       Page4
                                                                                                                                                 February 14, 2020
                                                                                                                                                 Invoice 42114086

Our Matter#            527040.000004
                       Pecos County Title Dispute

Fees for Professional Services ......................................................................................................... $               6,069.00


                                                                          Summa1:_y of Fees
         Name                                                Title                                   Hours                 Rate/Hr                 Amount
         Rob Vartabedian                                     Partner                                    1.30      $         760.00           $      988.00
         Nicholas Davis                                      Associate                                 6.90       $         650.00           $    4,485.00
         Javan Porter                                        Associate                                  1.30      $         410.00           $      533.00
         Polly Bates                                         Paralegal                                   .20      $         315.00           $       63.00
         Total                                                                                         9.70                                  $    6,069.00

                                                                        Reimbursable Costs
      Date         Description                                                                                                                            Amount
                   Electronic Research                                                                                                                   $141.11


Total Reimbursable Costs ................................................................................................................ $ - - - - - - -
                                                                                                                                                        141.11
                                                                                                                                                          --


Total Current Fees and Costs for this Invoice .................................................................................. $ - - - - - -6210.ll
                                                                                                                                               ---




                           AUSTIN   I DALLAS I FORT   WORTH    I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO            CITY   I MONTERREY
                  Case 20-41558                  Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                                  Desc
                                                          Addendum Page 9 of 64
                                                           THOMPSON & KNIGHT                                   LLP
                                                                   ATTORNEYS AND COUNSELORS

                                                                          777 MAIN STREET SUITE 3300
                                                                           FORT WORTH, TEXAS 76102
                                                                                 (817) 347-1700
                                                                              METRO (214) 969-1799
                                                                               FAX (817) 347-1799
                                                                                   lklaw .com


          TAX ID No. XX-XXXXXXX




Amazing Energy Oil and Gas Co                                                                                                                                   Page 1
Attn: Tom Thornhill                                                                                                                                    March 13, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                                    Invoice 42116122
Plano, TX 75093




                                                                  INVOICE SUMMARY
For Services Rendered Through February 29, 2020

Our Matter#            527040.000004
                       Pecos County Title Dispute


Fees for Professional Services ......................................................................................................... $                  38,644.50
Reimbursable Costs .......................................................................................................................... $                  2.00
Net Current Billing For This Invoice ............................................................................................... $                      38,646.50
                                                                                                                                                  -----~---




                            AUSTIN   I DALLAS I FORT     WORTH    I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO              CITY   I MONTERREY
          Case 20-41558           Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                       Desc
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THOMPSON & KNIGHT LLP                                                                                                                 Page 2
                                                                                                                             March 13, 2020
                                                                                                                           Invoice 42116122

Our Matter#   527040.000004
              Pecos County Title Dispute



                                                             Open Invoices


                    Invoice Number                          Invoice Date                      Invoice Total
                 42111596                              01/07/20                                      $33,220.82
                 42114086                              02/14/20                                        $6,210.11
                 Total                                                                               $39,430.93




                AUSTIN   I DALLAS I FORT   WORTH   I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO   CITY   I MONTERREY
               Case 20-41558                Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                          Desc
                                                    Addendum Page 11 of 64
                                                     THOMPSON & KNIGHT                           LLP
                                                             ATTORNEYS AND COUNSELORS

                                                                  777 MAIN STREET SUITE 3300
                                                                   FORT WORTH , TEXAS 76102
                                                                         (817) 347-1700
                                                                      METRO (214) 969-1799
                                                                       FAX (817) 347-1799
                                                                           tklaw.com

        TAX ID No. XX-XXXXXXX




Amazing Energy Oil and Gas Co                                                                                                                      Page 3
Attn: Tom Thornhill                                                                                                                       March 13, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                       Invoice 42116122
Plano, TX 75093




    Date       Name                           Narrative                                                                   Hours     Rate       Amount
02/04/2020 Davis, N                           Conference with J. King, B. Barton, and J. McCam                              2.50    650.00     $1,625.00
                                              regarding title and accounting issues; correspondence
                                              regarding same; prepare Rule 11 agreement
                                              extending stay
02/06/2020 Davis, N                           Conference with T. Thornhill regarding stay; prepare                          3.20    650.00     $2,080.00
                                              rule 11 agreement extending stay; correspond with
                                              opposing counsel regarding same; conference with T.
                                              Thornhill and J. Mccarn; conference and
                                              correspondence with J. King regarding Rule 11
02/07/2020 Bates, P                           Obtain copy of court docket; prepare case tracking                             .30    315.00        $94.50
                                              chart
02/10/2020 Davis, N                           Conference with J. King, B. Barton, and J. McCarn                              .30    650.00       $195.00
                                              regarding
02/11/2020 Bates, P                           Update case calendar                                                           .10    315.00        $31.50
02/11/2020 Davis, N                           Analyze deadlines; research regarding                                         1.60    650.00     $1,040.00
                                              correspondence with J. King regarding accounting
                                              review and arbitration
02/12/2020 Davis, N                           Correspondence with potential arbitrators regarding                            .30    650.00       $195.00
                                              availability
02/14/2020 Porter, J                          Draft correspondence to R. Wurtele concerning                                  .40    410.00      $164.00
                                              upcoming document review project
02/14/2020 Davis, N                          Conference with C. Brown regarding                                             1.40    650.00      $910.00
                                                   ; correspondence with clients regarding same;
                                             conference with R. Wurtele regarding same; analyze
                                             dismissal for want of prosecution
02/l 7/2020 Davis, N                         Conferences regarding accounting inspection;                                   8.90    650.00     $5,785 .00
                                             correspondence with opposing counsel regarding
                                             same; prepare for and attend accounting inspection
02/ l 7/2020 Porter, J                       Review and analyze documents in connection with                                7.40    410.00     $3,034.00
                                             Rule 11 agreement; conduct discovery of documents
                                             at Amazing's office


                         AUSTIN   I DALLAS I FORT   WORTH   I HOUSTON I NEW YORK I ALGIERS I   LONDON   I MEXICO   CITY   I MONTERREY
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THOMPSON & KNIGHT LLP                                                                                                                      Page4
                                                                                                                                  March 13, 2020
                                                                                                                                Invoice 42116122

Our Matter#     527040.000004
                Pecos County Title Dispute

    Date    Name                     Narrative                                                                  Hours     Rate         Amount
02/18/2020 Porter, J                 Conduct discovery at Amazing's offices in connection                         4.50        410.00   $1,845.00
                                     with Rule 11 agreement; observe and report on
                                     actions of independent auditors
02/18/2020 Davis, N                  Correspondence with opposing counsel regarding                               4.30        650.00   $2,795.00
                                     inspection and title issues; correspondence with J.
                                     McCam regarding same; research and analyze payout
                                     issue; research and analyze

02/19/2020 Davis, N                  Conference with L. Knickerbocker regarding JT                                2.70        650.00   $1,755.00
                                     Walker lease; research and analysis of
                                               ; research regarding summary judgment;
                                     conference with opposing counsel regarding title
                                     issues
02/20/2020 Davis, N                  Conference with J. McCam regarding status and                                1.00    650.00         $650.00
                                     opinion; conference with J. Porter and A. Karlsen
                                     regarding invoices
02/21/2020 Davis, N                  Conference with C. Brown regarding JT Walker lease                           2.10    650.00       $1,365.00
                                     and buyout; correspondence regarding same;
                                     conference with J. Porter regarding invoice review;
                                     analyze letter agreements
02/24/2020 Porter, J                 Draft correspondence concerning                                               .80    410.00        $328.00
                                                             ; research and analyze
                                     factual background regarding the same
02/24/2020 Davis, N                  Conference with J. McCarn regarding title;                                   1.50    650.00        $975.00
                                     conference with T. Thornhill and J. Mccarn
                                     regarding same
02/25/2020 Davis, N                  Conference with T. Thornhill regarding arbitration;                          5.10    650.00       $3,315.00
                                     conference with J. Porter regarding research; prepare
                                     arbitration demand
02/25/2020 Porter, J                 Research and analyze case law concerning                                     1.10    410.00        $451.00

                                     draft correspondence concerning the same
02/26/2020 Davis, N                  Prepare J. Miesner affidavit; prepare opening                                6.90    650.00       $4,485.00
                                     submission; correspondence regarding same; prepare
                                     Rule 11 agreement regarding schedule
02/26/2020 Porter, J                 Draft and edit affidavit for R. Wurtele                                       .60    410.00        $246.00
02/27/2020 Davis, N                  Prepare affidavit of J. Miesner; conferences with KL                         5.40    650.00       $3,510.00
                                     Gates regarding Rule 11; conference with T.
                                     Thornhill regarding same; revise Rule 11; prepare
                                     opening brief
02/27/2020 Porter, J                 Prepare and finalize affidavit for R. Wurtele                                 .60    410.00        $246.00

                   AUSTIN [ DALLAS [ FORT WORTH   I HOUSTON I NEW YORK   [ ALGIERS   I LONDON I MEXICO   CITY   I MONTERREY
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THOMPSON & KNIGHT LLP                                                                                                                                            Page 5
                                                                                                                                                        March 13, 2020
                                                                                                                                                      Invoice 42116122

Our Matter#             527040.000004
                        Pecos County Title Dispute

     Date         Name                              Narrative                                                                       Hours          Rate       Amount
02/28/2020 Davis, N                                 Conference with J. Porter regarding                                                2.20        650.00      $1,430.00

02/28/2020 Bates, P                                Review and distribute third Rule 11 agreement;                                       .30        315.00            $94.50
                                                   update case calendar


Fees for Professional Services ......................................................................................................... $                     38,644.50


                                                                           Summar:y of Fees
          Name                                                Title                                    Hours                 Rate/Hr                      Amount
          Nicholas Davis                                      Associate                                 49.40       $         650.00           $      32,110.00
          Javan Porter                                        Associate                                 15.40       $         410.00           $          6,314.00
          Polly Bates                                         Paralegal                                    .70      $         315.00           $           220.50
          Total                                                                                         65.50                                  $      38,644.50

                                                                         Reimbursable Costs
                   Description                                                                                                                                   Amount
                   Electronic Research                                                                                                                               $2.00


Total Reitnbursable Costs ................................................................................................................ $                2.00
                                                                                                                                               - - - - - - --  -

Total Current Fees and Costs for this Invoice .................................................................................. $ - - - - - ~
                                                                                                                                             38,646.50
                                                                                                                                                ---




                            AUSTIN I DALLAS I FORT WORTH I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO CITY I MONTERREY
                Case 20-41558             Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                      Desc
                                                  Addendum Page 14 of 64
                                                  THOMPSON               & KNIGHT LLP
                                                         ATTORNEYS AND COUNSELORS

                                                               777 MAIN STREET SUITE 3300
                                                                FORT WORTH , TEXAS 76102
                                                                      (817) 347-1700
                                                                   METRO (214) 969-1799
                                                                    FAX (817) 347-1799
                                                                        tklaw .com

         TAX ID No. XX-XXXXXXX




Amazing Energy Oil and Gas Co                                                                                                                Page I
Attn: Tom Thornhill                                                                                                                  April 15, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                 Invoice 42118335
Plano, TX 75093




                                                         INVOICE SUMMARY
For Services Rendered Through March 31, 2020

Our Matter#          527040.000004
                     Pecos County Title Dispute


Fees for Professional Services ......................................................................................................... $     66,527.50
Net Current Billing For This Invoice ............................................................................................... $ - - -- -~
                                                                                                                                               66,527.50
                                                                                                                                                   - --




                          AUSTIN I DALLAS I FORT WORTH I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO CITY I MONTERREY
          Case 20-41558           Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                       Desc
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THOMPSON & KNIGHT LLP                                                                                                                 Page 2
                                                                                                                              April 15, 2020
                                                                                                                           Invoice 42118335

Our Matter#   527040.000004
              Pecos County Title Dispute



                                                             Open Invoices


                    Invoice Number                          Invoice Date                      Invoice Total
                 42114086                              02/14/20                                        $5,727.57
                 42116122                              03/13/20                                      $38,646.50
                 Total                                                                               $44,374.07




                AUSTIN   I DALLAS I FORT   WORTH   I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO   CITY   I MONTERREY
              Case 20-41558                Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                        Desc
                                                   Addendum Page 16 of 64
                                                    THOMPSON & KNIGHT                         LLP
                                                            ATTORNEYS AND COUNSELORS

                                                                 777 MAIN STREET SUITE 3300
                                                                  FORT WORTH, TEXAS 76102
                                                                        (817) 347-1700
                                                                     METRO (214) 969-1799
                                                                      FAX (817) 347-1799
                                                                          tklaw.com

       TAX ID No. XX-XXXXXXX




Amazing Energy Oil and Gas Co                                                                                                                   Page 3
Attn: Tom Thornhill                                                                                                                     April 15, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                    Invoice 42118335
Plano, TX 75093




    Date      Name                           Narrative                                                               Hours     Rate         Amount
03/02/2020 Porter, J                         Review and analyze production data from section 91;                       2.30        410.00     $943.00
                                             strategize with co-counsel and client regarding the
                                             same; draft correspondence concerning the same
03/02/2020 Davis, N                          Conference with J. Mccarn regarding title issues;                         1.10        650.00     $715.00
                                             conference with E. Wolfram regarding affidavit;
                                             conference with J. Porter regarding well by well
                                             analysis
03/03/2020 Porter, J                         Strategize with client and co-counsel concerning Rule                      .80    410.00         $328.00
                                             11 agreement; research and analyze

03/03/2020 Davis, N                          Prepare opening brief for arbitration;                                    3.80    650.00       $2,470.00
                                                        ; conference with R. Wurtele regarding
                                             same; conference with T. Thornhill regarding status;
                                             prepare J. McCarn affidavit; prepare Rule 11
                                             agreement extending dates
03/04/2020 Davis, N                          Correspondence with opposing counsel regarding                             .10    650.00          $65.00
                                             extension of dates
03/05/2020 Davis, N                          Analyze and revise Rule 11 agreement;                                      .90    650.00        $585.00
                                             correspondence with opposing counsel and T.
                                             Thornhill regarding same
03/06/2020 Bates, P                         Review Rule 11 agreements and update case calendar                          .30    315.00          $94.50
03/06/2020 Davis, N                         Conference with J. Porter regarding status and                              .50    650.00        $325.00
                                            arbitration brief; correspondence with arbitrator
03/10/2020 Vartabedian, R                   Correspondence with                                                         .40    760.00        $304.00
03/16/2020 Porter, J                        Review and finalize correspondence to client                                .80    410.00        $328.00

03/17/2020 Vartabedian, R                   Correspondence with client                                                  .30    760.00        $228.00
03/17/2020 Porter, J                        Review and analyze Rumson Royalty suit; prepare                            4.40    410.00       $1,804.00
                                            correspondence to J. Griffis concerning the same;
                                            research and analyze procedural and factual
                                            background regarding the same

                        AUSTIN   I DALLAS I FORT   WORTH   I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO   CITY   I MONTERREY
            Case 20-41558            Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                 Desc
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THOMPSON & KNIGHT LLP                                                                                                              Page4
                                                                                                                           April 15, 2020
                                                                                                                        Invoice 42118335

Our Matter#     527040.000004
                Pecos County Title Dispute

    Date    Name                       Narrative                                                       Hours      Rate         Amount
03/17/2020 Davis, N                    Conference with clients regarding accounting                       1.30        650.00     $845.00
                                       analysis; correspondence regarding same
03/18/2020 Davis, N                    Prepare correspondence to opposing counsel                          .30        650.00     $195.00
                                       regarding accounting analysis
03/18/2020 Porter, J                   Research and analyze                                              2.90         410.00   $1,189.00
                                       research and analyze
                                                                         draft
                                       correspondence to opposing counsel regarding the
                                       same
03/19/2020 Porter, J                   Draft correspondence to client concerning                   t     2.30         410.00     $943.00
                                       discussions; draft correspondence to opposing
                                       counsel concerning the same; strategize with co-
                                       counsel regarding the same
03/20/2020 Porter, J                   Strategize with client                                            2.80     410.00       $1,148.00
                                       draft and edit correspondence with client concerning
                                       the same; strategize with co-counsel concerning the
                                       same
03/20/2020 Davis, N                    Conference with R. Vartabedian and J. Porter                        .40    650.00        $260.00
                                       regarding status and strategy
03/23/2020 Porter, J                   Prepare materials to be filed with brief in arbitration             .90    410.00        $369.00
03/24/2020 Davis, N                    Conference with J. Porter regarding arbitration brief;            1.60     650.00       $1,040.00
                                       conference with opposing counsel regarding
                                       accounting and settlement discussions; conference
                                       with T. Thornhill regarding same; conferences with J.
                                       Porter regarding same
03/24/2020 Porter, J                   Prepare                  for brief to be filed in                 6.10     410.00       $2,501.00
                                       arbitration; research and analyze case law and
                                       procedural and factual background regarding the
                                       same
03/25/2020 Vartabedian, R              Call with J. King; call with T. Thornhill; work on                1.50     760.00       $1,140.00
                                       arbitration strategy issues
03/25/2020 Davis, N                    Conference with J. Porter regarding arbitration; revise           2.70     650.00       $1,755.00
                                       R. Wurtele affidavit; conference with R. Vartabedian
                                       regarding arbitration; conference with C. Brown
                                       regarding same
03/26/2020 Porter, J                   Draft Brief for arbitration; research and analyze case            8.50     410.00       $3,485.00
                                       law regarding the same; draft affidavit for R Wurtele;
                                       research and analyze procedural and factual
                                       background regarding the same
03/26/2020 Vartabedian, R              Calls with J. King; call with T. Thornhill;                       1.30     760.00        $988.00
                                       correspondence about arbitration

                   AUSTIN   I DALLAS I FORT WORTH I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO CITY I MONTERREY
                  Case 20-41558                 Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                                 Desc
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                                                                                                                                                      April 15, 2020
                                                                                                                                                   Invoice 42118335

 Our Matter#            527040.000004
                        Pecos County Title Dispute

      Date        Name                             Narrative                                                                        Hours    Rate         Amount
 03/26/2020 Davis, N                               Prepare arbitration brief; conference with R.                                     6.00        650.00   $3,900.00
                                                   Vartabedian regarding same; conference with T.
                                                   Thornhill regarding same
 03/27/2020 Vartabedian, R                         Correspondence with client; review arbitration brief                              1.40        760.00   $1,064.00
                                                   and correspondence about the same; review and
                                                   revise
03/27/2020 Porter, J                               Finalize arbitration brief; research and analyze case                             9.90        410.00   $4,059.00
                                                   law regarding the same; find and prepare folder of
                                                   authorities regarding the same; strategize with co-
                                                   counsel regarding the same
03/27/2020 Davis, N                                Research and prepare arbitration brief and related                                9.60        650.00   $6,240.00
                                                   documents; conferences regarding same
03/29/2020 Davis, N                                Analyze AAPIM's arbitration brief                                                 1.00    650.00         $650.00
03/30/2020 Vartabedian, R                          Phone conference about reply strategy;                                            2.70    760.00       $2,052.00
                                                   con-espondence with client; prepare for TRO hearing
                                                   and correspondence about the same
03/30/2020 Porter, J                               Draft response arbitration brief; research and analyze                           10.50    410.00       $4,305.00
                                                   case law regarding the same; research and analyze
                                                   procedural and factual background regarding the
                                                   same; draft supp. decl. for R. Wurtele; research and
                                                   analyze
03/30/2020 Davis, N                                Conference with J. Porter regarding arbitration brief;                           10.10    650.00       $6,565.00
                                                   research and prepare reply brief; research and prepare
                                                   for TRO hearing
03/31/2020 Vartabedian, R                          Prepare for hearing; correspondence with client; TRO                              2.90    760.00       $2,204.00
                                                   hearing; correspondence with opposing counsel about
                                                   TRO form
03/31/2020 Porter, J                              Draft response arbitration brief; research and analyze                            11.10    410.00       $4,551.00
                                                  case law regarding the same; research and analyze
                                                  procedural and factual background regarding the
                                                  same; draft supp. decl. for N. Davis; research and
                                                  analyze
03/31/2020 Davis, N                               Prepare for and argue at temporary injunction                                    10.60     650.00       $6,890.00
                                                  hearing; conferences with team and client regarding
                                                  same


Fees for Professional Services ......................................................................................................... $                66,527.50




                            AUSTIN   I DALLAS I FORT   WORTH    I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO            CITY   I MONTERREY
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                                                                                                                                   Invoice 42118335

Our Matter#   527040.000004
              Pecos County Title Dispute

                                                               Summa,y of Fees
     Name                                          Title                              Hours                   Rate/Hr                Amount
     Rob V artabedian                              Partner                                10.50     $          760.00       $       7,980.00
     Nicholas Davis                                Associate                              50.00     $          650.00       $      32,500.00
     Javan Porter                                  Associate                          63.30         $          410.00      $       25,953.00
     Polly Bates                                   Paralegal                                .30     $          315.00      $           94.50
     Total                                                                           124.10                                $       66,527.50




                    AUSTIN   I DALLAS I FORT   WORTH   I HOUSTON I NEW YORK I ALGIERS I   LONDON   I MEXICO   CITY   I MONTERREY
                Case 20-41558               Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                    Desc
                                                    Addendum Page 20 of 64
                                                 THOMPSON & KNIGHT LLP
                                                          ATTORNEYS AND COUNSELORS

                                                               777 MAIN STREET SUITE 3300
                                                                FORT WORTH. TEXAS 76102
                                                                      (817) 347-1700
                                                                   METRO (214) 969-1799
                                                                    FAX (817 ) 347-1799
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Amazing Energy Oil and Gas Co                                                                                                                Page 1
Attn: Tom Thornhill                                                                                                                   May 13, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                 Invoice 42120028
Plano, TX 75093




                                                         INVOICE SUMMARY
For Services Rendered Through April 30, 2020

Our Matter#          527040.000004
                     Pecos County Title Dispute


Fees for Professional Services ............. ............................................................................................ $      5,142.00
Reimbursable Costs .......................................................................................................................... $      1.00
Net Current Billing For This Invoice ............................................................................................... $ - - - - - ~
                                                                                                                                                 5,143.00
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                                                                                                                           Invoice 42120028

Our Matter#   527040.000004
              Pecos County Title Dispute



                                                             Open Invoices


                    Invoice Number                          Invoice Date                      Invoice Total
                 42114086                              02/14/20                                        $5,727.57
                 42116122                              03/13/20                                       $38,646.50
                 42118335                              04/15/20                                       $66,527.50
                 Total                                                                              $110,901.57




                AUSTIN J DALLAS   I FORT   WORTH   I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO   CITY   I MONTERREY
                  Case 20-41558                 Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                               Desc
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                                                          THOMPSON & KNIGHT                                 LLP
                                                                  ATTORNEYS AND COUNSELORS

                                                                        777 MAIN STREET SUITE 3300
                                                                         FORT WORTH , TE XAS 76 102
                                                                               (81 7) 347- 170 0
                                                                            METRO ( 214 ) 969- 1799
                                                                             FAX (817 ) 347- 1799
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Amazing Energy Oil and Gas Co                                                                                                                               Page 3
Attn: Tom Thornhill                                                                                                                                  May 13, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                                Invoice 42120028
Plano, TX 75093




      Date        Name                             Narrative                                                                       Hours      Rate      Amount
04/01/2020 Vartabedian, R                          Con-espondence about TRO fonn                                                        .30   760.00     $228.00
04/01/2020 Davis, N                                Revise proposed temporary injunction order                                           .50   650.00     $325.00
04/02/2020 Davis, N                                Analyze proposed temporary restraining order                                         .20   650.00     $130.00
04/03/2020 Vartabedian, R                          Correspondence regarding order                                                       .40   760.00     $304.00
04/03/2020 Porter, J                               Draft correspondence concerning denial ofTRO;                                      2.10    410.00     $861.00
                                                   prepare materials for submission to arbitrator; case
                                                   status conference regarding bankruptcy
04/06/2020 Bates, P                                Review and distribute file-marked letter with                                       .30    315.00      $94.50
                                                   proposed TRO and order staying arbitration
04/07/2020 Davis, N                                Conference with counsel and team regarding                                          .80    650.00     $520.00
                                                   bankruptcy
04/0712020 Porter, J                               Draft litigation budget for bankruptcy; draft                                      2.50    410.00    $1,025.00
                                                   suggestions of bankruptcy for all outstanding cases;
                                                   finalize suggestions of bankruptcy for filing
04/08/2020 Bates, P                                Prepare suggestion of bankruptcy for filing; efile and                              .50    315.00     $157.50
                                                   distribute same
04/08/2020 Porter, J                               Draft litigation budget for bankruptcy; research and                               1.50    410.00     $615.00
                                                   analyze procedural and factual background regarding
                                                   the same; finalize suggestions of bankruptcy
04/08/2020 Davis, N                                Conference with J. Porter regarding bankruptcy and                                  .60    650.00     $390 .00
                                                   budget; prepare suggestion of bankruptcy
04/09/2020 Porter, J                               Finalize litigation budget; research and analyze                                    .50    410.00     $205.00
                                                   procedural background regarding the same
04/l 7/2020 Porter, J                              Review and analyze case law concerning filing an                                    .70    410.00     $287 .00
                                                   answer during a bankruptcy stay; draft
                                                   correspondence to assisting attorneys regarding the
                                                   same; draft correspondence to bankruptcy counsel
                                                   regarding the same


Fees for Professional Services ........................................................................................... .............. $              5,142.00

                            AUSTIN I DALLAS I FORT WORTH I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO CITY I MONTERREY
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                                                                                                                                        Invoice 42120028

Our Matter#          527040.000004
                     Pecos County Title Dispute


                                                                    Summaa:: of Fees
         Name                                            Title                               Hours               Rate/Hr                   Amount
         Rob Vartabedian                                 Partner                                 .70     $         760.00      $             532.00
         Nicholas Davis                                  Associate                             2.10      $         650.00      $          1,365.00
         Javan Porter                                    Associate                              7.30     $         410.00      $          2,993.00
         Polly Bates                                    Paralegal                                .80     $        315.00       $            252.00
         Total                                                                                10.90                            $          5,142.00

                                                                   Reimbursable Costs
                  Descri ption                                                                                                                      Amount
                  Electronic Research                                                                                                                 $1.00


Total Reimbursable Costs ......................................................... ....................................................... $ - - - - - - - -
                                                                                                                                                           1.00
                                                                                                                                                              -


Total Current Fees and Costs for this Invoice ....................................................................... ........... $ - - - - - ~
                                                                                                                                              5,143.00
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                 Case 20-41558                 Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                                 Desc
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                                                    THOMPSON & KNIGHT LLP
                                                                 ATTORNEYS AND COUNSELORS

                                                                       777 MAIN STREET SUITE 3300
                                                                        FORT WORTH, TEXAS 76102
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Amazing Energy Oil and Gas Co                                                                                                                                Page 1
Attn: Tom Thornhill                                                                                                                                   June 16, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                                 Invoice 42122464
Plano, TX 75093



                                                                INVOICE SUMMARY
For Services Rendered Through May 31, 2020

Our Matter#           527040.000004
                      Pecos County Title Dispute


Fees for Professional Services ......................................................................................................... $                 260.00
Net Current Billing For This Invoice ............................................................................................... $                     260.00
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                                                                                                                           Invoice 42122464

Our Matter#   527040.000004
              Pecos County Title Dispute



                                                             Open Invoices


                    Invoice Number                          Invoice Date                      Invoice Total
                 42114086                              02/14/20                                        $5,727.57
                 42116122                              03/13/20                                      $38,646.50
                 42118335                              04/15/20                                      $66,527.50
                 42120028                              05/13/20                                        $5,143.00
                 Total                                                                              $116,044.57




                AUSTIN   I DALLAS I FORT   WORTH   I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO   CITY   I MONTERREY
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                                                                    KNIGHT    LLP
                                                                 ATTORNEYS AND COUNSELORS

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                                                                        FORT WORTH. TEXAS 76102
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Amazing Energy Oil and Gas Co                                                                                                                                  Page 3
Attn: Tom Thornhill                                                                                                                                     June 16, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                                   Invoice 42122464
Plano, TX 75093




     Date        Name                             Narrative                                                                       Hours          Rate      Amount
05/12/2020 Davis, N                               Conference with J. McCam regarding status                                           .40        650.00     $260.00


Fees for Professional Services ......................................................................................................... $                       260.00


                                                                          Summary of Fees
         Name                                                Title                                                         Rate/Hr                      Amount
         Nicholas Davis                                      Associate                                   .40      $         650.00           $          260.00
                                                                                               ----                                          ------
         Total                                                                                           .40                                 $          260.00




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                                                       THOMPSON & KNIGHT                         LLP
                                                               ATTORNEYS AND COUNSELORS

                                                                    777 MAIN STREET SUITE 3300
                                                                     FORT WORTH , TEXAS 76102
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Amazing Energy Oil and Gas Co                                                                                                                    Page 1
Attn: Tom Thornhill                                                                                                                     March 13, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                     Invoice 42116121
Plano, TX 75093




                                                              INVOICE SUMMARY
For Services Rendered Through February 29, 2020

Our Matter#          527040.000002
                     Investigation and Suit for Breaches of Fiduciary Duties and Fraud


Fees for Professional Services ......................................................................................................... $       7,886.00
Reimbursable Costs .......................................................................................................................... $    314.84
Net Current Billing For This Invoice ............................................................................................... $ - - - - - ~
                                                                                                                                                 8,200.84
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          Case 20-41558           Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                       Desc
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THOMPSON & KNIGHT LLP                                                                                                                 Page 2
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                                                                                                                           Invoice 42116121

Our Matter#   527040.000002
              Investigation and Suit for Breaches of Fiduciary Duties and Fraud



                                                             Open Invoices


                    Invoice Number                           Invoice Date                     Invoice Total
                 42114085                               02/14/20                                     $38,962.50
                 Total                                                                               $38,962.50




                AUSTIN   I DALLAS I FORT   WORTH   I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO   CITY   I MONTERREY
                 Case 20-41558                  Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                                 Desc
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                                                          THOMPSON & KNIGHT                                LLP
                                                                 ATTORNEYS AND COUNSELORS

                                                                        777 MAIN STREET SUITE 3300
                                                                         FORT WORTH, TEXAS 76102
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Amazing Energy Oil and Gas Co                                                                                                                                 Page3
Attn: Tom Thornhill                                                                                                                                  March 13, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                                  Invoice 42116121
Plano, TX 75093




     Date        Name                              Narrative                                                                       Hours     Rate         Amount
02/03/2020 Bates, P                                Update case file with TRO documents                                                 -20       315.00      $63.00
02/03/2020 Davis, N                                Finalize TRO; prepare writ of injunction; prepare                                 3.20        650.00   $2,080.00
                                                   letter regarding same; conference with court
                                                   regarding same
02/07/2020 Var1abedian, R                          Attention to litigation strategy and                                                .90       760.00    $684.00

02/0712020 Porter, J                               Prepare correspondence with court; research and                                   1.30    410.00        $533.00
                                                   analyze procedural and factual background regarding
                                                   disposition of cases; prepare chart of case summaries
                                                   for lawyers on our side
02/07/2020 Bates, P                                Obtain copy of court docket; prepare case tracking                                 .40    315.00        $126.00
                                                   chart; communications regarding TRO
02/13/2020 Davis, N                                Correspondence with T. Thornhill regarding                                         .20    650.00        $130.00
                                                   injunction
02/21/2020 Potier, J                               Review and analyze invoices in connection with Rule                               5.50    410.00       $2,255.00
                                                   11 agreement; prepare list of invoices to produce to
                                                   opposing party
02/21/2020 Davis, N                               Conference with E. Wolfram regarding                                               1.10    650.00        $715.00
                                                         ; correspondence regarding same
02/25/2020 Davis, N                               Conference with E. Wolfram regarding                                               1.40    650.00        $910.00

02/27/2020 Davis, N                               Conference with E. Wolfram regarding                                                .60    650.00        $390.00



Fees for Professional Services ......................................................................................................... $                 7,886.00




                           AUSTIN   I DALLAS I FORT    WORTH    I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO            CITY   I MONTERREY
                 Case 20-41558                  Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                                 Desc
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THOMPSON & KNIGHT LLP                                                                                                                                         Page4
                                                                                                                                                     March 13, 2020
                                                                                                                                                   Invoice 42116121

Our Matter#            527040.000002
                       Investigation and Suit for Breaches of Fiduciary Duties and Fraud

                                                                           Summarv of Fees
          Name                                                 Title                                   Hours                 Rate/Hr                 Amount
          Rob Vartabedian                                      Partner                                     .90      $          760.00          $      684.00
          Nicholas Davis                                      Associate                                  6.50       $          650.00          $    4,225.00
          Javan Porter                                        Associate                                  6.80       $         410.00           $    2,788.00
          Polly Bates                                         Paralegal                                    .60      $         315.00           $      189.00
          Total                                                                                         14.80                                  $    7,886.00

                                                                         Reimbursable Costs
                   Description                                                                                                                             Amount
                   Electronic Filing Fees                                                                                                                 $314.84


Total Rei1nbursable Costs ................................................................................................................ $              314.84
                                                                                                                                               - - - - -- - --

Total Current Fees and Costs for this Invoice .................................................................................. $ - - - - - - - - ' - - - - ' 8,200.84
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               Case 20-41558                Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                       Desc
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                                                      THOMPSON & KNIGHT                         LLP
                                                              ATTORNEYS AND COUNSELORS

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                                                                    FORT WORTH , TEXAS 76102
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Amazing Energy Oil and Gas Co                                                                                                                   Page 1
Attn: Tom Thornhill                                                                                                                     April 15, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                    Invoice 42118333
Plano, TX 75093




                                                             INVOICE SUMMARY
For Services Rendered Through March 31, 2020

Our Matter#         527040.000002
                    Investigation and Suit for Breaches of Fiduciary Duties and Fraud


Fees for Professional Services ......................................................................................................... $      3,123.00
Net Cunent Billing For This Invoice ............................................................................................... $ - - - - - ~-
                                                                                                                                                3,123.00
                                                                                                                                                    --




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          Case 20-41558            Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                               Desc
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THOMPSON & KNIGHT LLP                                                                                                          Page 2
                                                                                                                       April 15, 2020
                                                                                                                    Invoice 42118333

Our Matter #   527040.000002
               Investigation and Suit for Breaches of Fiduciary Duties and Fraud



                                                          Open Invoices


                     Invoice Number                      Invoice Date                      Invoice Total
                  42116121                          03/13/20                                        $8,200.84
                  Total                                                                             $8,200.84




                 AUSTIN   I DALLAS I FORT WORTH I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO CITY I MONTERREY
                 Case 20-41558                  Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                                  Desc
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                                                         THOMPSON                  & KNIGHT LLP
                                                                 ATTORNEYS AND COUNSELORS

                                                                       777 MAIN STREET SUITE 3300
                                                                        FORT WORTH, TEXAS 76102
                                                                              (817) 347-1700
                                                                           METRO (214) 969-1799
                                                                            FAX (817) 347-1799
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          TAX ID No. XX-XXXXXXX




Amazing Energy Oil and Gas Co                                                                                                                                  Page 3
Attn: Tom Thornhill                                                                                                                                    April 15, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                                   Invoice 42118333
Plano, TX 75093




     Date        Name                              Narrative                                                                      Hours          Rate       Amount
03/13/2020 Davis, N                                Conference with T. Thornhill                                                      1.20        650.00       $780.00

03/13/2020 Vartabedian, R                          Call with client; call with                                                        .90        760.00       $684.00
03/18/2020 Vartabedian, R                          Phone conference with client abou                                                  .60        760.00       $456.00

03/24/2020 Vartabedian, R                          Correspondence with client; correspondence with C.                                 .30        760.00       $228.00
                                                   Jensen about Dr. Parker claims
03/24/2020 Davis, N                               Conference with E. Wolfram regarding                                                .50        650.00       $325.00
                                                  and
03/25/2020 Davis, N                               Correspondence regarding                                                            .30        650.00       $195.00
03/30/2020 Davis, N                               Prepare amended petition and application for TRO                                    .30        650.00       $195.00
03/31/2020 Davis, N                               Prepare amended petition and application for TRO                                    .40        650.00       $260.00


Fees for Professional Services ......................................................................................................... $                    3,123.00


                                                                          Summary of Fees
         Name                                                Title                                   Hours                 Rate/Hr                      Amount
         Rob Vartabedian                                     Partner                                    1.80      $         760.00           $          1,368.00
         Nicholas Davis                                      Associate                                  2.70      $         650.00           $          1,755.00
         Total                                                                                          4.50                                 $          3,123.00




                            AUSTIN   I DALLAS I FORT   WORTH   I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO            CITY   I MONTERREY
                 Case 20-41558                 Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                                Desc
                                                       Addendum Page 34 of 64
                                                    THOMPSON & KNIGHT LLP
                                                                 ATTORNEYS AND COUNSELORS

                                                                       777 MAIN STREET SUITE 3300
                                                                        FORT WORTH. TEXAS 76 102
                                                                              (817) 347-1700
                                                                           METRO (2 14) 969- 1799
                                                                            FAX (817 ) 34 7-1799
                                                                                tklaw .com

          TAX ID No. XX-XXXXXXX




Amazing Energy Oil and Gas Co                                                                                                                               Page 1
Attn: Tom Thornhill                                                                                                                                  May 13, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                                Invoice 42120026
Plano, TX 75093




                                                                INVOICE SUMMARY
For Services Rendered Through April 30, 2020

Our Matter#           527040.000002
                      Investigation and Suit for Breaches of Fiduciary Duties and Fraud


Fees for Professional Services ......................................................................................................... $              11,348.50
Net Current Billing For This Invoice ............................................................................................... $                  11,348.50
                                                                                                                                             - - - - - - ~ --




                           AUSTIN I DALLAS    I FORT   WORTH   I HOUSTON I NEW YORK I ALGIERS I        LONDON   I MEXICO   CITY   I MONTERREY
          Case 20-41558           Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                               Desc
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                                                                                                                   Invoice 42120026

Our Matter#   527040.000002
              Investigation and Suit for Breaches of Fiduciary Duties and Fraud



                                                         O pen Invoices


                    Invoice Number                      Invoice Date                      Invoice Total
                 42116121                          03/13/20                                        $8,200.84
                 42118333                          04/15/20                                        $3,123.00
                 Total                                                                           $11,323.84




                AUSTIN   I DALLAS I FORT WORTH I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO CITY I MONTERREY
                  Case 20-41558                  Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                                   Desc
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                                                           THOMPSON & KNIGHT                                  LLP
                                                                   ATTORNEYS AND COUNSELORS

                                                                          777 MAIN STREET SUITE 3300
                                                                           FOR T WORTH , TEXAS 76102
                                                                                  (817 ) 347 -1700
                                                                              METRO (214) 969-1 7 99
                                                                               FAX (8 17 ) 347-1799
                                                                                    tklaw .com

          TAX ID No. XX-XXXXXXX




Amazing Energy Oil and Gas Co                                                                                                                                    Page 3
Attn: Tom Thornhill                                                                                                                                       May 13, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                                     Invoice 42120026
Plano, TX 75093




      Date        Name                              Narrative                                                                         Hours      Rate        Amount
04/01/2020 Bates, P                                 Prepare second amended petition for filing; efile,                                   1.10       315.00     $346.50
                                                    distribute and telephone conference with court clerk
                                                    regarding same; review and distribute Miesner's trial
                                                    brief on amount of bond supplemental response to
                                                    request for injunctive relief
04/01/2020 Davis, N                                 Prepare amended petition and application for TRO                                    3.90     650.00      $2,535.00
                                                    and related documents
04/02/2020 Bates, P                                 Obtain file-marked copies of latest court filings;                                    .20    315.00         $63.00
                                                    distribute and index same
04/02/2020 Davis, N                                 Prepare for TRO hearing; analyze Defendants' filings                                2.00     650.00      $1 ,300.00
04/03/2020 Vartabedian, R                           Attention to foreclosure TRO                                                          .60    760.00       $456.00
04/03/2020 Davis, N                                 Analyze Defendants' filings; prepare for and argue at                               6.10     650.00      $3,965 .00
                                                    multiple TRO hearings; prepare declarations
                                                    regarding TRO; conferences with client regarding
                                                    same
04/07/2020 Vaiiabedian, R                           Call with bankruptcy counsel                                                          .80    760.00       $608.00
04/08/2020 Bates, P                                 Obtain and distribute file-marked copies of Plaintiff's                               .80    315.00       $252 .00
                                                    verified second amended petition and application for
                                                    TRO and temporary injunction and order regarding
                                                    same; prepare suggestion of bankruptcy for filing;
                                                    efile and distribute same
04/08/2020 Vartabedian, R                           Attention to second amended petition and TRO;                                       1.30     760.00       $988.00
                                                    correspondence about TRO strategy
04/09/2020 Vartabedian, R                           Work on litigation budget of Amazing matters;                                         .50    760.00       $380.00
                                                    correspondence with bankruptcy counsel about the
                                                    same
04/09/2020 Davis, N                                 Prepare budget estimate                                                               .70    650.00       $455.00


Fees for Professional Services ... ....... .................................................................................... .. ......... $               11,348.50



                            AUSTIN   I DALLAS I FORT     WORTH J HOUSTON       I NEW YORK I ALGIERS I LONDON I MEXICO          CITY   I MONTERREY
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                                                                                                                    Invoice 42120026

Our Matter#   527040.000002
              Investigation and Suit for Breaches of Fiduciary Duties and Fraud

                                                        Summa1y of Fees
     Name                                     Title                           Hours             Rate/Hr               Amount
     Rob Vartabedian                          Partner                           3.20    $        760.00     $        2,432.00
     Nicholas Davis                           Associate                        12.70    $        650.00     $        8,255.00
     Polly Bates                              Paralegal                         2.10    $        315.00     $          661.50
     Total                                                                     18.00                        $       11,348.50




                   AUSTIN I DALLAS I FORT WORTH I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO CITY I MONTERREY
                 Case 20-41558                 Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                                Desc
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                                                         THOMPSON & KNIGHT                                 LLP
                                                                 ATTORNEYS AND COUNSELORS

                                                                       777 MAIN STREET SUITE 3300
                                                                        FORT WORTH, TEXAS 76102
                                                                              (8 17) 347-1700
                                                                           METRO (214 ) 969-1799
                                                                            FAX (81 7) 347- 1799
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          TAX ID No. XX-XXXXXXX




Amazing Energy Oil and Gas Co                                                                                                                               Page 1
Attn: Tom Thornhill                                                                                                                                March 13, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                                Invoice 42116123
Plano, TX 75093




                                                                INVOICE SUMMARY
For Services Rendered Through February 29, 2020

Our Matter#           527040.000005
                      Collin County Lawsuit


Fees for Professional Services ......................................................................................................... $                 94.50
Net Current Billing For This Invoice ............................................................................................... $                     94.50
                                                                                                                                             - -- -- - - - -




                           AUSTIN   I DALLAS I FORT   WORTH    I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO            CITY   I MONTERREY
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                                                                                                                             March 13, 2020
                                                                                                                           Invoice 42116123

Our Matter#   527040.000005
              Collin County Lawsuit



                                                             Open Invoices


                    Invoice Number                          Invoice Date                      Invoice Total
                 42111597                              01/07/20                                         $699.00
                 Total                                                                                  $699.00




                AUSTIN   I DALLAS I FORT   WORTH   I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO   CITY   I MONTERREY
                 Case 20-41558                 Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                                   Desc
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                                                                    KNIGHT    LLP
                                                                 ATTORNEYS AND COUNSELORS

                                                                       777 MAIN STREET SUITE 3300
                                                                        FORT WORTH, TEXAS 76102
                                                                              (8 17) 347 -1700
                                                                           METRO (214) 969-1799
                                                                            FAX (817) 347-1799
                                                                                 tklaw .com

          TAX ID No. XX-XXXXXXX




Amazing Energy Oil and Gas Co                                                                                                                                  Page 3
Attn: Tom Thornhill                                                                                                                                   March 13, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                                   Invoice 42116123
Plano, TX 75093




     Date        Name                             Narrative                                                                       Hours          Rate      Amount
02/07/2020 Bates, P                               Obtain copy of court docket; prepare case tracking                                  .30        315.00           $94.50
                                                  chart


Fees for Professional Services ......................................................................................................... $                         94.50


                                                                          Summary of Fees
         Name                                                Title                                   Hours                 Rate/Hr                      Amount
         Polly Bates                                         Paralegal                                   .30      $         315.00           $            94.50
         Total                                                                                           .30                                 $            94.50




                           AUSTIN   I DALLAS I FORT   WORTH    I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO            CITY   I MONTERREY
                 Case 20-41558                  Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                               Desc
                                                        Addendum Page 41 of 64
                                                         THOMPSON                   & KNIGHT LLP
                                                                 ATTORNEYS AND COUNSELORS

                                                                        777 MAIN STREET SUITE 3300
                                                                         FORT WORTH , TEXAS 76102
                                                                               (817 ) 347-1700
                                                                            METRO (214) 969-1799
                                                                             FAX (817) 347-1799
                                                                                 lklaw .com

          TAX ID No. XX-XXXXXXX




Amazing Energy Oil and Gas Co                                                                                                                               Page 1
Attn: Tom Thornhill                                                                                                                                 April 15, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                                Invoice 42118336
Plano, TX 75093




                                                                INVOICE SUMMARY
For Services Rendered Through March 31, 2020

Our Matter#           527040.000005
                      Collin County Lawsuit


Fees for Professional Services ...................................................................................................... ... $               157.50
Net Current Billing For This Invoice ........................................ ....................................................... $                   157.50
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                            AUSTIN   I DALLAS I FORT   WORTH    I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO            CITY   I MONTERREY
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                                                                                                                              April 15, 2020
                                                                                                                           Invoice 42118336

Our Matter#   527040.000005
              Collin County Lawsuit



                                                             Open Invoices


                    Invoice Number                          Invoice Date                      Invoice Total
                 42116123                              03/13/20                                          $94.50
                 Total                                                                                   $94.50




                AUSTIN   I DALLAS I FORT   WORTH   I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO   CITY   I MONTERREY
                 Case 20-41558                 Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                                   Desc
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                                                         THOMPSON & KNIGHT                                 LLP
                                                                 ATTORNEYS AND COUNSELORS

                                                                       777 MAIN STREET SUITE 3300
                                                                        FORT WORTH, TEXAS 76102
                                                                              (817) 347-1700
                                                                           METRO (214) 969-1799
                                                                            FAX (817) 347-1799
                                                                                tklaw.com

          TAX ID No. XX-XXXXXXX




Amazing Energy Oil and Gas Co                                                                                                                                  Page 3
Attn: Tom Thornhill                                                                                                                                    April 15, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                                   Invoice 42118336
Plano, TX 75093




     Date        Name                             Narrative                                                                       Hours          Rate      Amount
03/06/2020 Bates, P                               Review Rule 11 agreements and update case calendar                                  .30        315.00      $94.50
03/19/2020 Bates, P                               Review notice from court regarding dismissal and                                    .20        315.00      $63.00
                                                  update case calendar


Fees for Professional Services ......................................................................................................... $                       157.50


                                                                          Summary of Fees
         Name                                                Title                                   Hours                 Rate/Hr                      Amount
         Polly Bates                                         Paralegal                                   .50      $         315.00           $          157.50
                                                                                                - - --                                       ------
         Total                                                                                           .50                                 $          157.50




                           AUSTIN   I DALLAS I FORT   WORTH    I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO            CITY   I MONTERREY
                 Case 20-41558                  Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                                Desc
                                                        Addendum Page 44 of 64
                                                     THOMPSON & KNIGHT LLP
                                                                 ATTORNEYS AND COUNSELORS

                                                                       777 MAIN STREET SUITE 3300
                                                                        FORT WORTH, TEXAS 76102
                                                                              (817) 347-1700
                                                                           METRO (2 14) 969-1799
                                                                            FAX (817) 347-1799
                                                                                tklaw .com

          TAX ID No. XX-XXXXXXX




Amazing Energy Oil and Gas Co                                                                                                                               Page 1
Attn: Tom Thornhill                                                                                                                                  May 13, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                                Invoice 42120029
Plano, TX 75093




                                                                INVOICE SUMMARY
For Services Rendered Through April 30, 2020

Our Matter#           527040.000005
                      Collin County Lawsuit


Fees for Professional Services ......................................................................................................... $                630.00
Net Current Billing For This Invoice ............................................................................................... $                    630.00
                                                                                                                                             - - - - - - - --




                           AUSTIN   I DALLAS I FORT   WORTH    I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO            CITY   I MONTERREY
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                                                                                                                               May 13, 2020
                                                                                                                           Invoice 42120029

Our Matter#   527040.000005
              Collin County Lawsuit



                                                             Open Invoices


                    Invoice Number                          Invoice Date                      Invoice Total
                 42116123                              03/13/20                                          $94.50
                 42118336                              04/15/20                                         $157.50
                 Total                                                                                  $252.00




                AUSTIN   I DALLAS I FORT   WORTH   I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO   CITY   I MONTERREY
                 Case 20-41558                   Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                                    Desc
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                                                      THOMPSON            46 of 64
                                                                      KNIGHT    LLP
                                                                  ATTORNEYS AND COUNSELORS

                                                                         777 MAIN STREET SUITE 3300
                                                                          FORT WORTH , TEXAS 76102
                                                                                (817) 347-1700
                                                                            METRO (2 14) 969- 1799
                                                                              FAX (817) 347-1799
                                                                                  tklaw .com

          TAX ID No. XX-XXXXXXX




Amazing Energy Oil and Gas Co                                                                                                                                     Page 3
Attn: Tom Thornhill                                                                                                                                        May 13, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                                      Invoice 42120029
Plano, TX 75093




     Date        Name                               Narrative                                                                        Hours          Rate      Amount
04/02/2020 Bates, P                                 Research Collin County for new case involving                                        .50        315.00      $157.50
                                                    AAPIM and Amazing and update the case
                                                    distribution
04/03/2020 Bates, P                                 Communications regarding various TRO related                                       1.00         315.00     $315 .00
                                                    documents; prepare TRO related documents for
                                                    filing, efile and distribute same; review TRO related
                                                    documents filed by Plaintiff and distribute same
04/08/2020 Bates, P                                 Prepare suggestion of bankruptcy for filing, efile and                               .50        315.00     $157.50
                                                    distribute same


Fees for Professional Services ................................................. .... ............................................ ........ $                       630.00


                                                                           Summary of Fees
         Name                                                  Title                                   Hours                 Rate/Hr                       Amount
         Polly Bates                                           Paralegal                                  2.00      $          315.00           $          630.00
                                                                                                                                                ------
         Total                                                                                            2.00                                  $          630.00




                            AUSTIN   I DALLAS I FORT    WORTH    I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO             CITY   I MONTERREY
                Case 20-41558               Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                    Desc
                                                    Addendum Page 47 of 64
                                                 THOMPSON & KNIGHT LLP
                                                          ATTORNEYS AND COUNSELORS

                                                               777 MAIN STREET SUITE 3300
                                                                FORT WORTH, TEXAS 76102
                                                                      (817) 347-1700
                                                                   METRO (214) 969-1799
                                                                    FAX (817) 347-1799
                                                                        tklaw.com

         TAX ID No. XX-XXXXXXX




Amazing Energy Oil and Gas Co                                                                                                                Page I
Attn: Tom Thornhill                                                                                                                  April 15, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                 Invoice 42118334
Plano, TX 75093




                                                         INVOICE SUMMARY
For Services Rendered Through March 31, 2020

Our Matter#          527040.000003
                     Lee County, NM Execution of Judgment


Fees for Professional Services ......................................................................................................... $         94.50
Net Current Billing For This Invoice ............................................................................................... $ - -- - - - -94.50
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                          AUSTIN   I DALLAS I FORT WORTH I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO CITY I MONTERREY
                 Case 20-41558                  Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                                                   Desc
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                                                         THOMPSON & KNIGHT                                  LLP
                                                                 ATTORNEYS AND COUNSELORS

                                                                        777 MAIN STREET SUITE 3300
                                                                         FORT WORTH, TEXAS 76102
                                                                               (817) 347-1700
                                                                            METRO (214) 969-1799
                                                                             FAX (817) 347-1799
                                                                                 tklaw .com

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Amazing Energy Oil and Gas Co                                                                                                                                   Page 2
Attn: Tom Thornhill                                                                                                                                     April 15, 2020
5700 W. Plano Parkway, Suite 3600                                                                                                                    Invoice 42118334
Plano, TX 75093




     Date        Name                              Narrative                                                                       Hours          Rate      Amount
03/06/2020 Bates, P                                Review Rule 11 agreements and update case calendar                                  .30        315.00           $94.50


Fees for Professional Services ............................................................. ............................................ $                         94.50


                                                                          Summary of Fees
         Name                                                 Title                                   Hours                 Rate/Hr                      Amount
         Polly Bates                                         Paralegal                                    .30      $         315.00           $            94.50
                                                                                                ----                                          ------
         Total                                                                                            .30                                 $            94.50




                           AUSTIN   I DALLAS I FORT   WORTH    I HOUSTON I NEW YORK I ALGIERS I LONDON I MEXICO             CITY   I MONTERREY
Case 20-41558   Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03   Desc
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                EXHIBIT B – ENGAGEMENT LETTER
    Case 20-41558                   Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03     Desc
                                            Addendum Page 50 of 64
                                       T HOMPSON & K NIGHT LLP
                                            ATTORNEYS AND COUNSELORS                          AUSTIN
                                                                                              DALLAS
                                                777 MAI N STREET, SUITE 3300             FORT W ORTH
                                                   FORT W ORTH, TX 76102                    HOUSTON
 ROBERT C. VARTABEDIAN
                                                         817.347-1700                      NEW YORK
 DIRECT DIAL: 817.347.1714                            FAX 214.999.1687                      ----------------------------
 EMAIL: rob.vartabedian@tklaw.com                       www.tkla w.co m                      ALGIERS
                                                                                              LONDON
                                                                                          MÉXICO CITY
                                                                                          MONTERREY

                                                November 21, 2019

 Amazing Energy, LLC                                           Willard McAndrew
 Amazing Energy Oil and Gas Co.                                5700 W. Plano Parkway
 Amazing Energy Holdings, LLC                                  Suite 3600
 c/o Willard McAndrew                                          Plano, Texas 75093
 5700 W. Plano Parkway
 Suite 3600                                                    David Arndt
 Plano, Texas 75093                                            5700 W. Plano Parkway
                                                               Suite 3600
 “Marty” Benjamin Dobbins                                      Plano, Texas 75093
 5700 W. Plano Parkway
 Suite 3600
 Plano, Texas 75093

           Re:        Thompson & Knight LLP Engagement Agreement for Matters:
                      Pecos County Dispute
                      Collin County Lawsuit
                      Lee County, NM Execution of Judgment Lawsuit

Dear Tom:

        Thompson & Knight LLP (“TK”) appreciates the opportunity to represent Amazing
Energy, LLC, Amazing Energy Oil and Gas Co., Amazing Energy Holdings, LLC, Willard
McAndrew, “Marty” Benjamin Dobbins, and David Arndt in the referenced Matters (as such terms
are defined below). A successful lawyer/client relationship begins with a clear understanding and
agreement regarding the terms of the relationship by both parties. This letter including Schedule 1
and the Terms & Conditions (collectively, “Agreement”) states the mutual understanding and
agreement of the parties regarding this engagement.

      If there are any questions or concerns regarding the terms of the Agreement, please let me
know so they can be resolved. Otherwise, please return a signed copy of the Agreement
immediately.

       Client and Client Contact. Amazing Energy, LLC, Amazing Energy Oil and Gas Co.,
Amazing Energy Holdings, LLC, Willard McAndrew, “Marty” Benjamin Dobbins, and David
Arndt (collectively “Client” or “Clients”) are TK’s only clients in the Matters as described below.

        Client agrees that TK’s representation of it in the matters described below does not give
rise to a lawyer-client relationship between our firm and any of Client’s affiliates. Accordingly,
representation of Client in these matters will not give rise to any conflict of interest in the event
other clients of the firm are adverse to any of Client’s affiliates.
   Case 20-41558   Doc 250-4 Filed 09/28/20 Entered 09/28/20 16:17:03                           Desc
                           Addendum Page 51 of 64
Amazing Energy, LLC et al.
November 21, 2019


       Tom Thornhill is designated by Client as its “Primary Client Contact” in the Matters.
Unless directed otherwise, TK primarily will correspond and communicate with Primary Client
Contact as the representative of Client in the Matters.

        Matters and Scope of Services. TK is being retained to represent the following Clients
solely in connection with the following matters (collectively, “Matters”):

      Matter                                       Client(s)
      Pecos County Dispute                         Amazing Energy, LLC
      Collin County Lawsuit                        Amazing Energy, LLC
                                                   Amazing Energy Oil and Gas Co.
                                                   Amazing Energy Holdings, LLC
                                                   Willard McAndrew
                                                   “Marty” Benjamin Dobbins
                                                   David Arndt
      Lee County, NM Execution of Judgment Lawsuit Amazing Energy, LLC

       TK will perform all reasonable legal services and take all such action as may be appropriate
and necessary in its professional discretion as lawyers to further Client’s interests in the Matters.

        Assigned Lawyers. I will be the primary TK lawyer responsible for the Matters. It is
anticipated that Nick Davis also will work on the Matters. (Collectively, referred to as “Assigned
Lawyers.”) Other TK lawyers, paralegals and staff may also work on the Matters where advisable
and appropriate.

        Fees and Expenses. Fees for our legal services will be based on TK’s hourly rates and the
billable hours incurred to represent Client in the Matters. Schedule 1 reflects the current hourly
rates for the above-named lawyers. These hourly rates will apply through December and are
subject to change thereafter, with at least 30 days’ prior notice. In addition to fees for legal services,
TK will charge to Client out-of-pocket expenses incurred in representing Client. TK’s current
Client Reimbursed Expense Policy is set forth in the attached Terms and Conditions.

        Billing and Payment. TK submits statements for fees and expenses on a monthly basis,
unless otherwise agreed on Schedule 1. TK’s statements are due upon receipt by Client, and will
be treated as past due 30 days after receipt.

        We understand that the payment of the Clients’ fees and expenses will be made by Amazing
Energy Oil and Gas Co. Unless we receive instructions to the contrary, we shall send one statement
for each Matter each month to Amazing Energy Oil and Gas Co. for fees and expenses incurred in
the Matters for our representation of the Clients.

         Joint Representation. A lawyer has the duty to exercise independent professional
judgment on behalf of each client. When requested to represent multiple clients in the same matter,
a lawyer can only do so if he first concludes that he can fulfill this duty with regard to each of the
joint clients on an impartial basis.



                                                    2
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Amazing Energy, LLC et al.
November 21, 2019

       Since each client has the right to retain separate counsel, the lawyer then must obtain the
consent of each client after an explanation of the possible disadvantages and risks involved in the
proposed multiple representation. Further, if during the representation material differences arise
between or among some or all of the joint clients, that that preclude the lawyer from continuing to
represent each of the clients impartially, then the lawyer must at that time withdraw from
representing all of the clients.

        While it may be less expensive and save time for one lawyer to represent all the Clients
jointly in this matter, it is important for each of you to understand the implications, risks and
possible adverse consequences of joint representation. One of the risks associated with joint
representation is the effect it has on client-lawyer confidentiality. In joint representation, an
attorney has an ethical duty to keep each of his clients informed and respond to reasonable requests
for information. This duty precludes a lawyer from keeping any information revealed by one client
secret from the other co-clients. If, for example, one of you were to tell a representative of our
Firm that a problem existed in connection with this matter, that representative would be required
to share this information with the other co-clients. Thus, if any Client possesses any information
that such Client does not desire a Firm representative to discuss with the other co-clients, that
Client should hire separate counsel in connection with those issues.

        Each Client should also be aware that representing multiple parties affects the attorney-
client privilege. While still fully applicable to third parties, the attorney-client privilege does not
apply as between the joint clients. Thus, should a subsequent dispute arise between any of the
Clients regarding the subject matter of this joint representation, the Firm may be compelled to
testify about conversations that occurred or documents that were reviewed during the course of
this joint representation. Thus, if any Client wishes to have privileged communications that will
not be subject to disclosure to the other jointly represented clients, we would advise such Client to
hire separate counsel in connection with those issues.

       Each entity/individual has the right to voluntarily withdraw from the joint representation
at any time. However, each entity/individual understands and agrees that, in the event of its
voluntary withdrawal, the Firm may continue to jointly represent all remaining entities/individuals
unless otherwise prohibited by the applicable professional responsibility rules and authorities.

         Because the Firm has a pecuniary interest in providing joint representation, we cannot
provide legal advice on whether to agree to the terms of this agreement. Your signature below
acknowledges that you have not relied on legal advice from Thompson & Knight concerning this
letter agreement.

         Each Client acknowledges and agrees that a conflict of interest may arise in the course of
our joint representation (e.g., a substantial discrepancy in the parties’ testimony, incompatibility
in position in relation to an opposing party, or differences related to settlement of the claims or
liabilities in question). Each Client acknowledges and agrees that in the event a conflict of interest
does arise, our firm may withdraw from representing a Client and may continue to represent other
Clients. In such event, each Client understands that a Client from whom the firm has withdrawn
from representing will be responsible for obtaining its own legal representation and for the cost of
that representation. Additionally, any information that such Client previously disclosed to us may


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be used against such Client on behalf of other Clients. In the unlikely event that a Client, on the
one hand, and other Clients, on the other hand, commence litigation against one another regarding
the subject of the joint representation, each understands that our advice to them and our prior
communications with them during the joint representation may not be shielded from disclosure in
such litigation. In many representations an attorneys’ work product may be obtained by a client.
In this joint representation, however, each Client agrees that the confidentiality of attorney work
product will be maintained even if the joint representation ceases. Finally, in the event a conflict
of interest arises regarding our joint representation, a court may disqualify us from continuing to
represent any of the Clients, notwithstanding the terms of this agreement. We are advising of these
possibilities solely to comply with our ethical requirements and are not suggesting that any Clients
have claims against one another.

        Independent Advice Regarding Engagement. As a matter of policy, TK does not advise
its clients or potential clients on whether to agree to the terms of its engagement by a client.
Therefore, TK advises its clients or potential clients to consult in-house counsel or other counsel
regarding the Agreement. By accepting the terms of the Agreement, Client confirms that it
understands its option to consult other counsel and has made an independent decision to enter into
the Agreement and provide the consents contained herein whether or not it has actually consulted
other counsel.

        Waiver and Release. Client hereby waives, releases, and forever discharges Conrad
Hester and TK from any and all claims, demands, and causes of action of whatever kind or
character which Client has as of the date of this letter, that are in any way connected with previous
legal services rendered by Conrad Hester to Client. This waiver, release, and discharge specifically
encompasses but is not limited to any claims that Client may have against Conrad Hester or TK
for legal malpractice, negligence, or breach of fiduciary duties.

       Terms and Conditions of Representation. Additional information regarding fees and
other important matters, agreements, and consents appear in the enclosed Schedule 1 and Terms
and Conditions, which Client should review carefully before agreeing to our engagement.

        Please contact the undersigned immediately if the Agreement does not accurately reflect
Client’s understanding of the terms of TK’s engagement in the Matters. Corrections or changes
must be in writing and agreed by TK and Client. A signed engagement agreement between TK
and Client is needed within ten (10) business days of the date on page one in order for TK to
proceed with representation of Client in the Matters. If Client does not countersign the engagement
letter but continues to instruct us on the Matters, Client will be deemed to have accepted the
engagement letter and the terms and conditions.

       Again, TK appreciates the opportunity to represent Client and looks forward to working
with Client and its representatives.




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                                            Regards,

                                            THOMPSON & KNIGHT LLP



                                            By:
                                                    Robert C. Vartabedian
                                                    Partner

       The undersigned Client has read and understood the Agreement (including the
Attachments) and consider it to be fair and reasonable. The Agreement (including Schedule 1 and
the Terms & Conditions) accurately sets forth all of the terms of the engagement, and is approved
and accepted as of the date on page one.

Amazing Energy, LLC

By:                                                        Date: 11-21-19
      Name: Willard G. McAndrew III
      Title: President

Amazing Energy Oil and Gas Co.


By:                                                        Date: 11-21-19
      Name: Willard G. McAndrew III
      Title: CEO

Amazing Energy Holdings, LLC


By:                                                        Date: 11-21-19
      Name: Willard G. McAndrew III
      Title: President


Willard McAndrew


                                                           Date: 11-21-19



Benjamin Dobbins


                                                           Date: 11-21-19


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David Arndt


                                                Date: 11-21-19


Attachments:
Schedule 1
Terms & Conditions

Cc:   Tom Thornhill
      Anna Karlsen




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                                          Schedule 1

HOURLY RATES:

Hourly Rates of Lawyers and Paralegals (if any) Initially Assigned to the Matter:

Name                                        Hourly Rate

Robert Vartabedian                          $710
Nick Davis                                  $605

EXPENSE POLICY:

       TK Client Reimbursed Expense Policy (as in effect from time to time) applies. The current
       TK Client Reimbursed Expense Policy is attached.

TOTAL RETAINER: $125,000

       MONTHLY STATEMENT RETAINER (See Terms & Conditions: Retainer):

       Amount: $125,000. This retainer will first be applied against outstanding invoices incurred
       in the Jed Meisner matter.


                        [Remainder of this page intentionally left blank]




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                                       Terms & Conditions

        Client. Unless otherwise specifically agreed in writing, the Agreement does not create an
attorney-client relationship between TK and any person or entity other than Client, including
without limitation, any parent, subsidiary, or affiliated entity of Client; any Client Contact or
representative, employee, officer, director, shareholder, member or partner of Client; or, any entity
commonly-owned with or related to Client, even though TK may communicate such other persons
regarding the Matters. Accordingly, representation of Client in the Matters will not give rise to
any conflict of interest in the event other TK clients are adverse or become adverse to any person
or entity other than Client.

         Joint Representation of Corporate Affiliates. If this representation includes
representation of corporate affiliates, we are entitled to rely on the designated primary client
contact, Tom Thornhill, to accurately and timely pass on our communications to each of the
affiliates, and each affiliate acknowledges that it will be relying on the designated primary client
contact and not us with respect to the accurate and timely transmission of such communications.
TK is specifically authorized to share confidential information belonging to each affiliate with the
others, it being understood that the affiliates are jointly represented with respect to each Matters.
The designated primary client contact is authorized to agree to any consent, to waive any privilege,
and to waive any conflict on behalf of all affiliates, and TK is entitled to rely thereon. In the event
that a Client affiliate ceases to be an affiliate, TK may withdraw from representing such former
affiliate and continue to represent the remaining Client affiliates, even in matters adverse to the
former affiliates.

        Scope of Services. TK is retained by Client solely to provide legal services in connection
with the Matters and TK is not responsible for providing business, investment, accounting, or
financial advice to Client regarding the Matters. Except as otherwise separately agreed in writing,
TK’s representation is limited to the Matters (and to the scope of services described) and the
engagement under the Agreement does not involve an undertaking to represent the Client or its
interests in any other matter.

        Client Obligations – Information and Documents. To enable TK to provide effective
representation in the Matters, Client agrees to: (1) disclose to TK fully, accurately and on a timely
basis, all facts and documents that are or might be material or that TK may request; (2) provide us
with complete and accurate factual information, documents, electronically stored information and
other data, and other communications relevant to the subject matter of the litigation or otherwise
reasonably requested; (3) make its officers and employees available to meet with TK personnel
and to attend trial, hearings, depositions and discovery conferences, and other proceedings; (4) to
commit the appropriate personnel and sufficient resources to meet the Client’s discovery
obligations; (5) keep TK apprised on a timely basis of all developments that are or might be
material; (6) attend meetings, conferences, and other proceedings when it is reasonable to do so;
(7) provide updated information for conflicts purposes, if necessary; and (8) cooperate fully with
TK in all matters relating to the engagement. By signing this Agreement, Client agrees that TK is
relieved from the responsibility of performing any further work should Client fail to pay any
statement for fees and expenses (including bills for expenses received from third parties) or for
supplemental deposits when due. In that event, Client agrees that TK may withdraw as Client’s
counsel and will sign any needed documents to facilitate such withdraw.


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        TK Estimates of Fees & Expenses. If TK has provided or in the future provides Client
with an estimate of fees and expenses to be incurred in the Matters, such estimate is provided with
Client’s understanding and agreement that the actual legal fees and expenses incurred by Client
may exceed such estimate and such estimate is not a fixed fee or a cap or limit on fees and expenses
to be incurred and paid by Client.

       Contract and Temporary Lawyers. Client authorizes us, where we deem it efficient, to
engage contract or temporary lawyers, and to charge hourly rates for the work of such contract or
temporary lawyers at rates less than we charge for our comparably experienced associates but at
more than we pay such contract or temporary lawyers.

        Client Reimbursed Expenses. Pursuant to TK’s current Client Reimbursed Expense
Policy, TK will separately charge Client for costs and expenses incurred on behalf of Client related
to the Matters. Unless otherwise stated on Schedule 1, these costs and expenses include, but are
not limited to, filing fees, travel expenses, reprographics including photocopies, facsimile charges,
CDs, DVDs, postage, overnight, special delivery or special courier charges, long distance
telephone costs, court reporter costs, deposition fees and expert witness fees, charges for the Firm’s
access to and use of any electronic research services in the Matters, litigation support services, and
e-discovery services. In the case of significant third-party vendor charges, TK may either forward
invoices for such charges to Client for direct payment or may require an expense deposit from
Client to be used for payment of expenses.

        Billing Statements. Unless otherwise stated on Schedule 1, TK will submit statements for
fees and expenses on a monthly basis, or shortly after services are rendered or expenses incurred.
If Client has any questions or concerns about TK’s fees and expenses or the level or quality of
representation provided, Client should discuss those concerns with the Assigned Lawyers or TK
Management immediately. Otherwise, TK will assume that Client approves of the level and
quality of representation provided by TK to Client in the Matters.

       TK Statements – Due Date. Unless otherwise stated on Schedule 1, all TK statements
are due and payable upon receipt, and will be treated as past due 30 days after receipt.

        Retainer. The amount of any Final Payment Retainer (“FPR”) required as of the date of
this agreement is reflected on Schedule 1. Prior to TK’s final statement in the Matters, Client is
required to pay TK’s statements within 30 days of receipt without regard to the existence of the
FPR. The FPR will be held by TK and applied to the final TK statement in the Matter, and (1) any
unapplied amount will be returned to Client, or applied to other amounts owed by Client to TK at
that time or (2) if the final statement exceeds the FPR, any unpaid balance of TK’s fees and
expenses in the Matters will be immediately due and payable by Client. The amount of any
Monthly Statement Retainer (“MSR”) required as of the date of this agreement is reflected on
Schedule 1. The MSR will be held by TK and applied to pay TK’s statements to Client. If at any
time the unapplied MSR is reduced below the “Minimum Retainer Amount” specified in
Schedule 1, Client will be required to replenish MSR to the original amount within 30 days of
receipt of notice from TK.

      Client Advance Waiver of Conflicts. Although we are not aware of a conflict created by
the Matters at this time, save and except any conflict specifically addressed in the engagement


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letter. TK is a large law firm, and it is possible that the Firm may take on work for other clients
that may give rise to conflicts in the future. TK will not take on any representation adverse to
Client (i) in any matter which is substantially related to TK’s representation of Client or (ii) with
respect to any matter where there is a reasonable probability that confidential information Client
has furnished to TK could be used to Client’s disadvantage. In other matters, Client understands
and consents that, with those exceptions, TK accepts this engagement on the understanding that it
is free to represent other clients, including clients whose interests conflict with Client’s in
litigation, business transactions, or other legal matters so long as we believe, in our reasonable
professional judgment, that our responsibilities to Client and the other client would not be
adversely limited by the concurrent representations. That nature of our practice is such that
occasionally the Firm may concurrently represent two clients in matters that are not substantially
related to each other where, in our professional judgment, we can undertake the concurrent
representations without adversely limiting the responsibilities we have to either client. In such a
situation, we give careful consideration to the needs of both of our clients before undertaking such
representation. In view of the nature of our practice, Client agrees that the attorneys at the Firm
may represent a party with interests directly adverse to Clients, so long as the adverse
representation is not substantially related to the matters we have been engaged to handle on
Client’s behalf, and so long as we believe that our responsibilities to Client and the other client
would not be adversely limited by the concurrent representations. Where any such representation
involving litigation is involved, it is likely that our attorneys representing our other client would
be required to conduct adverse discovery against Client, Client’s parent company, subsidiaries, or
affiliates and perhaps cross-examine witnesses employed by Client, Client’s parent company,
subsidiaries or affiliates if any such matter proceeded to trial. Where any such representation is
undertaken, our attorneys representing our other client will assist in seeking the terms most
favorable to it even though different terms may be more advantageous to Client. We agree,
however, that Client’s prospective consent to conflicting representation will not apply where, as a
result of our representation of Client, we have obtained sensitive, proprietary, or other confidential
information that, if known to our other client, could be used by the other client to Client’s material
disadvantage, unless any confidential information we have obtained would be screened from the
lawyers working for our other client. Client should know that, in similar engagement letters with
many of our other clients, we have asked for similar agreements to preserve our ability to represent
Client.

       Client also consents to our undertaking of matters not adverse to Client for any party to
whom Client is adverse in any of the matters we are handling for Client from time to time. As one
example, if Client engages us to represent it in a financing transaction adverse to a commercial
bank, we would be able to represent that bank on any matter unrelated to our work for Client and
where Client is not the adverse party.

        Client Advance Waiver Regarding Consultation with TK’s General Counsel. As
Client knows, TK is a large law firm. We represent many clients and handle a great number of
complex matters each year. In part because of the number of clients that TK represents and the
complexity of the matters we become involved in, from time to time issues arise that raise
questions as to our duties under the professional conduct rules that apply to lawyers. These might
include, e.g., conflict of interest issues, and could even include issues raised because of a dispute
between us and a client over the handling of a matter. Under normal circumstances when such
issues arise we would seek the advice of our General Counsel who is an expert in such matters.


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Historically, we have considered such consultations to be attorney-client privileged conversations
between firm personnel and the counsel for the firm. In recent years, however, there have been
judicial decisions indicating that under some circumstances such conversations may involve a
conflict of interest between the client and the law firm and that the lawyer’s consultation with law
firm’s counsel may not be privileged, unless the law firm either withdraw from the representation
of the client or obtain the client’s consent to consult with law firm’s counsel.

        We believe that it is in our clients’ interest, as well as TK’s interest, that in the event legal
ethics or related issues arise during a representation, we receive expert analysis of our obligations.
Accordingly, as part of our agreement concerning our representation, Client agrees that if we
determine in our own discretion during the course of the representation that it is either necessary
or appropriate to consult with our firm counsel, either TK’s internal counsel or, if we choose,
outside counsel, we have Client’s consent to do so and that our representation of Client shall not,
thereby, waive any attorney-client privilege that TK may have to protect the confidentiality of our
communications with counsel.

        Potential Conflicts – TK Disclosures & Client Consents. TK currently has no reason to
believe that an actual conflict exists between Client’s interests in the Matters and any other TK
client’s interests in the Matters [save and except any conflict specifically addressed in the
engagement letter], or that any actual conflict is likely to arise during the course of TK’s
representation of Client in the Matters. If circumstances should unexpectedly change so that an
actual conflict arises or becomes likely to arise between Client’s interests and TK’s other client’s
interests in the Matters, TK will notify Client as soon as practicable, and discuss the available
alternatives. Those alternatives may include (1) TK’s seeking consent to its continued
representation of the adverse clients (including Client) in the Matters (which consent may or may
not be requested or given), or (2) TK’s withdrawing from representation of the adverse clients and
advising them (including Client) to retain other counsel. TK’s general practice is that where its
clients’ interests in a matter become directly adverse, TK will withdraw from representing both
clients in that matter.

        TK has several hundred lawyers in different cities and countries. Our business intake
system and conflicts process involves the application of the standards set forth in applicable rules
of professional conduct. We do not undertake to check of disclose other relationships. For
example, our conflicts process will not necessarily reveal and we do not check to determine
whether other clients of the Firm may be competitors of Client or may take positions on the subject
matter of certain issues that may be adverse or inconsistent with positions Client may favor
respecting such subject matter. As a result, we may represent Client’s business competitors, and
in fact, we often represent more than one client in any particular industry. Client’s signature
acknowledges and consents to the limited scope of our conflicts check and any issue conflicts.

        TK may represent other lawyers and law firms and TK may be represented by other lawyers
and law firms from time to time. As a result, opposing counsel in the Matters may be a lawyer or
law firm that TK represents and has represented TK now or in the future. Further, TK and its
lawyers have professional and personal relationships with many other lawyers. By accepting the
terms of this agreement, Client consents to any such relationships between TK and its lawyers and
other law firms or lawyers, including counsel representing a party that is adverse to Client in the
Matters or some other matter.


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        Termination and Withdrawal. Unless we have accepted other work from Client on a
separate matter, it is agreed that the attorney-client relationship will be considered terminated upon
TK’s completion of the services that Client has retained TK to perform in the Matters. If Client
has retained or later retains TK to perform further or additional services in the Matters or any other
matter, that engagement will be subject to the terms of engagement agreed at that time.

        Client may terminate this engagement at any time, with or without cause, by notifying TK.
Client’s termination of TK’s services will not affect Clients’ responsibility for payment of fees
and expenses incurred before such termination and those incurred in connection with an orderly
transition of the Matters. TK’s attorney-client relationship with Client also terminates with respect
to the Matters upon TK’s completion of the services described in the Agreement, and unless
previously terminated, when TK sends to Client the final statement for services rendered in
connection with the Matters.

        Consistent with governing rules of professional conduct, TK may terminate representation
and withdraw from representing a client for many reasons, including without limitation, for the
client’s non-payment of fees or expenses, misrepresentation or failure to disclose material facts,
fraudulent or criminal conduct, action contrary to TK’s advice, and conflict of interest with another
TK client. Upon any such termination, TK and Client agree to take the steps necessary to effect
TK’s withdrawal from representing Client in the Matters, including signing documents such as
pleadings and consenting to substitution of counsel. Upon any such termination, fees and expenses
incurred by Client or on Client’s behalf to the date of termination will be payable under the
payment terms of the Agreement.

         Collateral Matters. Occasionally, matters between a client and a third party that are
collateral to our representation of the client may arise during or after our representation and will
require us to expend time and money to address them. Therefore, except as provided in the next
sentence, Client agrees that it will pay directly or reimburse TK for all losses, claims, damages,
liabilities, and expenses (including for our time at our usual rates and our attorneys’ fees and
expenses) suffered by or asserted against the Firm, its partners or personnel in connection with,
arising out of, or in any way based upon or relating to the representation described above or the
performance by TK of the services contemplated for the Matters and arising from a claim by
someone other than the client hereunder, including expenses incurred in connection with
investigating, responding to, defending, or preparing to defend against any such loss, damage, or
liability, or an pending or threatened claim, action or discovery request arising therefrom. Client’s
reimbursement and payment obligation arising hereunder shall not extend to any loss, damage,
liability, action, or claim to the extent the same is determined, in a final judgment by a court having
jurisdiction, to have resulted from the professional malpractice of TK or any of its partners or
personnel.

        Trial Advance. Once a trial or hearing date is set, we will require Client to pay all amounts
then owing to us and may require Client to deposit with us the fees we estimate will be incurred in
preparing for and completing the trial or arbitration, as well as jury fees and arbitration fees likely
to be assessed. If Client fails to timely pay any additional deposit requested, we will have the right
to withdraw from the representation. If permission of the court or arbitration panel is required,
Client agrees not to oppose any motion to withdraw.



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        Files and Documents. TK will create and maintain a client file for the Matters (the “Client
Matter File”) that includes documents furnished by Client to TK for use in the Matters. Unless
otherwise agreed, Client should retain copies of any documents furnished to TK and should
maintain copies of any documents furnished to Client by TK. Within 120 days of termination of
TK’s representation in the Matter, Client should identify to TK the client documents, if any, that
Client requests TK to return to Client. At its discretion, TK may or may not retain copies of such
returned documents in its files. After termination of TK’s representation in the Matter, the Client
Matter File may be sent to a private storage facility, archived for a limited time or destroyed. TK
will determine, at its discretion, the disposition of the Client Matter File, unless Client makes a
specific written request that such file be returned.

        At the conclusion of the Matters or any other representation that we undertake on Client’s
behalf, Client agrees that all electronic and hard copies of documents or data we have in the Client
Matter File relating to the Matters, whether we may have received them from Client, received from
others, or created them ourselves, may be handled and ultimately destroyed, without further notice
to Client, in accordance with our document retention and management policy then in effect.
However, if Client makes a request for the delivery of specific documents while we still retain
them, and if we have received payment of all of our invoiced fees and costs, all documents in the
Client Matter File that are requested will be copied and delivered to Client at Client’s expense.

       TK has adopted a program of document retention and management of electronically stored
information, including regular deletion of outdated, corrupt or useless files. Such program may
change from time-to-time. TK will retain or dispose of any remaining documents or other
materials in the Matters in accordance with its record retention policy for client files as in effect
from time-to-time.

       Client must alert TK in advance of special treatment, sensitive information, retention
requirements and other unique conditions pertaining to the Client File. Client agrees that it will
notify TK in a timely, written and specific manner, concerning any requirement for special or
unusual handling of the Client File, including without limitation, any statutory or regulatory
requirements relating to confidentiality and retention of the Client File.

        Client agrees that TK will own and control its own files and any related electronically
stored information pertaining to this engagement (collectively “TK Files”). Client will not have
the right or ability to require TK to deliver TK Files and information (or copies thereof) to Client.
Further, at its discretion, TK may destroy any TK Files or information without Client’s consent.
Client agrees that TK Files shall include firm administrative records; financial files and
documents; time and expense reports; firm personnel and staffing materials, credit and accounting
records, electronic mail correspondence (other than such correspondence sent to Client by TK);
and, TK lawyer's work product, such as drafts, notes, memoranda and legal and factual research,
documents containing mental impressions, including investigative reports prepared by or for the
internal use of TK lawyers. Client agrees that such TK Files will not be considered part of the
Client Matter File.

       Post-Engagement Issues. Client is engaging TK to provide legal services in connection
with the Matters (and within the scope of services) described in the Agreement. After completion
or conclusion of the Matters, changes may occur in the applicable laws or regulations that could


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have an impact upon Client’s future rights and liabilities. Unless Client engages TK to provide
additional advice or services in connection with issues relating to or arising from the Matters, TK
will have no continuing obligation to advise Client with respect to future legal developments.
Further, unless Client and TK agree in writing to the contrary, TK will not monitor renewal or
notice dates or other deadlines relating to or arising from the Matters following completion or
conclusion of the Matters.

        Communications and Confidentiality. TK has available Internet communication
procedures that allow its lawyers and staff to use e-mail for client communications in many
instances. Accordingly, unless Client specifically directs otherwise, TK may use unencrypted e-
mail sent on the Internet to communicate with Client and to send documents TK has prepared or
reviewed. Client acknowledges that communication by cellular telephone, facsimile transmission,
and email may pose risks to confidentiality and to timely, complete communications; nevertheless,
Client authorizes and consents to our use of such communication technology in connection with
representing Client. TK recognizes its obligation to preserve the confidentiality of attorney-client
communications as well as client confidences, as required by the governing rules of professional
responsibility, but there may be occasions when we will need to disclose Client’s identity as a
client for purposes of identifying and dealing with a conflict of interest. If TK is disclosed or
appears as counsel for Client in publicly available records relating to the Matters, TK reserves the
right to inform others of the fact of TK’s representation of Client in the Matters and (if reflected
in publicly available records) the results obtained, unless Client specifically directs otherwise.

        Guarantee Disclaimer. TK cannot make and has not made any guarantee regarding its
representation of Client in the Matters. Nothing in the Agreement and no statements by TK
lawyers, paralegals or other staff constitutes a promise as to results, or a guarantee. Either at the
commencement or during the course of our representation, we may express opinions or beliefs
concerning the Matters or various courses of action and the results that might be anticipated. Any
such statement made by any lawyer of TK is intended to be an expression of opinion only, based
on information available to us at the time, and should not be construed by Client as a promise or
guarantee.

       Choice of Law. The relationship between the client and the firm, including the validity,
construction, and enforceability of this engagement letter, shall be governed in all respects by the
law and professional conduct rules of Texas, without regard to conflicts of laws principles.

        Grievances. Texas law requires that all attorneys provide their clients with the following
notice about the existence of the attorney grievance process: “The State Bar of Texas investigates
and prosecutes professional misconduct by Texas lawyers. Although not every complaint against
or dispute with a lawyer involves professional misconduct, the Office of General Counsel of the
State Bar of Texas will provide anyone with information about how to file a complaint. For more
information, please call 1-800-932-1900.”

        Entire Agreement. The engagement letter, Schedule 1 and these Terms and Conditions
constitute the entire understanding and agreement between Client and TK regarding our
representation of Client in the Matters. They supersede any prior understandings and agreements,
written or oral, and any subsequent billing requirements, Outside Counsel Guidelines, or letters
submitted to us. If any provision of the engagement letter or these Terms and Conditions is held


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by a court to be invalid, void, or unenforceable, the remainder of the provisions shall remain in
full force and effect. The client should review this document carefully and contact us promptly
with any questions. The client should retain this document in its file. This Agreement can be
amended or modified only by written agreement signed by TK and Client.

        Binding Agreement. The Agreement shall be binding upon TK and Client and their
respective heirs, executors, legal representatives, successors and assigns.

       Professional Obligations. Nothing in the Agreement is intended or shall be construed as
impermissibly waiving or limiting TK’s or its lawyers’ professional obligations to Client or to the
profession under the applicable rules of professional conduct or other law, including the Sarbanes-
Oxley Act of 2002.




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